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             The Law Offices Of Steven D. Pertuz, LLC
            111 Northfield Avenue, Suite 304
            West Orange, NJ 07052                                                          Order Filed on October 28, 2022
            Tel: (973) 669-8600                                                            by Clerk
            Fax: (973) 669-8700                                                            U.S. Bankruptcy Court
            SDP-5632                                                                       District of New Jersey

            spertuz@pertuzlaw.com
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               Attorneys for the Debtor
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